Case 2:16-cr-00081-SPC-KCD Document 414 Filed 11/14/17 Page 1 of 4 PageID 5121




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 v.                                                     CASE NO: 2:16-cr-81-FtM-38CM

 BROWN LASTER, JR.


                                         ORDER1

        This matter comes before the Court on Brown Laster, Jr.’s Motion for New Trial

 (Doc. 410) filed on October 23, 2017. The Government filed a Response in Opposition

 (Doc. 413) on November 6, 2017.

        Following a seven-day jury trial, Laster, Jerry Browdy, and Wesley Petiphar were

 found guilty of conspiracy to possess with intent to distribute methamphetamine. (Doc.

 350). As best the Court can discern, Laster now renews his motion for judgement of

 acquittal under Rule 29, requests a new trial under Rule 33, and argues the evidence

 presented at trial materially varied from the indictment. (Doc. 410). The Government

 opposes Laster’s Motion. (Doc. 413). The Court will address the arguments in turn.

        To start, Laster renews his motion for judgment of acquittal. Federal Rule of

 Criminal Procedure 29 provides that "[i]f the jury has returned a guilty verdict, the court




 1 Disclaimer:  Documents filed in CM/ECF may contain hyperlinks to other documents or
 websites. These hyperlinks are provided only for users’ convenience. Users are
 cautioned that hyperlinked documents in CM/ECF are subject to PACER fees. By
 allowing hyperlinks to other websites, this Court does not endorse, recommend, approve,
 or guarantee any third parties or the services or products they provide on their websites.
 Likewise, the Court has no agreements with any of these third parties or their websites.
 The Court accepts no responsibility for the availability or functionality of any hyperlink.
 Thus, the fact that a hyperlink ceases to work or directs the user to some other site does
 not affect the opinion of the Court.
Case 2:16-cr-00081-SPC-KCD Document 414 Filed 11/14/17 Page 2 of 4 PageID 5122




 may set aside the verdict and enter an acquittal." Fed. R. Crim. P. 29(c). When evaluating

 such a motion, the Eleventh Circuit outlined the following legal principles:

        In considering a motion for the entry of a judgment of acquittal, a district
        court must view the evidence in the light most favorable to the government,
        and determine whether a reasonable jury could have found the defendant
        guilty beyond a reasonable doubt. The prosecution need not rebut all
        reasonable hypotheses other than guilt. The jury is free to choose between
        or among the conclusions to be drawn from the evidence presented at trial,
        and the district court must accept all reasonable inferences and credibility
        determinations made by the jury. The [d]istrict [c]ourt's determination that
        the evidence introduced at trial was insufficient to support the jury's verdict
        of guilt is [an] issue of law entitled to no deference on appeal.

 U.S. v. Miranda, 425 F.3d 953, 959 (11th Cir. 2005).           "A jury's verdict cannot be

 overturned if any reasonable construction of the evidence would have allowed the jury to

 find the defendant guilty beyond a reasonable doubt." U.S. v. Friske, 640 F.3d 1288,

 1291 (11th Cir. 2011) (quoting U.S. v. Herrera, 931 F.2d 761, 762 (11th Cir. 1991)). Under

 this standard, the Court continues to find that the Government met its burden as to all

 elements of a single conspiracy charge.

        To the extent that Laster argues that a new trial should be granted because the

 interest of justice so requires, the Court also denies that request. Rule 33 provides that

 "the court may vacate any judgment and grant a new trial if the interest of justice so

 requires." Fed. R. Crim. P. 33(a). It also allows the district court to weigh the evidence

 and consider the credibility of the witnesses, but to grant a motion for new trial, the

 “evidence must preponderate heavily against the verdict, such that it would be a

 miscarriage of justice to let the verdict stand.” Butcher v. United States, 368 F.3d 1290,

 1297 (11th Cir. 2004) (quoting U.S. v. Martinez, 763 F.2d 1297, 1313 (11th Cir. 1985)).

 Here, the Court is satisfied that the evidence is not against the verdict such that a

 miscarriage of justice has occurred.




                                              2
Case 2:16-cr-00081-SPC-KCD Document 414 Filed 11/14/17 Page 3 of 4 PageID 5123




        Finally, Laster argues there was a material variance between the indictment, which

 alleged a single conspiracy, and the evidence presented at trial, which Laster argues

 represented multiple conspiracies. (Doc. 410). “The standard of review for whether there

 is a material variance between the allegations in the indictment and the facts established

 at trial is twofold: First, whether a material variance did occur, and, second, whether the

 defendant suffered substantial prejudice as a result.” U.S. v. Lander, 668 F.3d 1289,

 1295 (11th Cir. 2012) (quoting U.S. v. Chastain, 198 F.3d 1338, 1349 (11th Cir. 1999)).

 A material variance occurs if the government proves multiple conspiracies at trial and only

 a single conspiracy was alleged in the indictment. U.S. v. Holt, 777 F.3d 1234, 1262 (11th

 Cir. 2015). In this case, the evidence presented a trial supported a finding of a single

 conspiracy, and therefore the Court finds no material variance. But even if a material

 variance occurred, Laster’s conclusory argument that he suffered substantial prejudice is

 unsupported and unconvincing. See generally U.S. v. Alred, 144 F.3d 1405, 1415 (11th

 Cir. 1998) (emphasizing that a variance is not always prejudicial and prejudice is not

 assumed). For the above reasons, the Court denies Laster’s Motion.

        Accordingly, it is now

        ORDERED:

           Brown Laster, Jr.’s Motion for New Trial (Doc. 410) is DENIED.

        DONE AND ORDERED at Fort Myers, Florida, this November 14, 2017.




 Copies: Counsel of Record




                                             3
Case 2:16-cr-00081-SPC-KCD Document 414 Filed 11/14/17 Page 4 of 4 PageID 5124




                                      4
